Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 1 of 20




                   EXHIBIT 2
      Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 2 of 20




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 DARVIN McAFEE, individually and                  §
 on behalf of all others similarly situated       §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §     CIVIL ACTION NO. 4:16-cv-03298
                                                  §
 PIONEER NATURAL RESOURCES                        §
 COMPANY                                          §
                                                  §
         Defendant.                               §


             CONFIDENTIAL SETTLEMENT AGREEMENT AND RELEASE

        1.      This Confidential Settlement Agreement and Release (the “Agreement” or
“Confidential Settlement Agreement”) is entered into between Plaintiff Darvin McAfee
(“Plaintiff”) and the Settlement Class and Pioneer Natural Resources Company (“Defendant” or
“Pioneer”), (together, the “Parties”), subject to the approval of the Court.

                                              RECITALS

       2.      Plaintiff, individually and on behalf of the Settlement Class, as defined below, filed
this Action asserting that Pioneer, as defined below, failed to properly classify and pay proper
overtime wages under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”).

       3.       As a result of the Parties’ arms-length negotiations, the Parties have agreed to settle
this Action (“the Settlement”) according to the terms of this Confidential Settlement Agreement.

         4.     Class Counsel, as defined below, has made a thorough and independent
investigation of the facts and law relating to the allegations in the Action. In agreeing to this
Settlement Agreement, Class Counsel has considered: (a) the facts developed during the Parties’
litigation and settlement negotiations and the law applicable thereto; (b) the attendant risks of
continued litigation and the uncertainty of the outcome of the claims alleged against Defendant;
and (c) the desirability of consummating this Settlement according to the terms of this Confidential
Settlement Agreement. Plaintiff has concluded that the terms of this Settlement are fair, reasonable
and adequate, and that it is in the best interests of Plaintiff and the Settlement Class, as defined
below, to settle their claims against Defendant and the Released Parties, as defined below, pursuant
to the terms set forth herein.

        5.      Defendant denies the allegations in Plaintiff’s lawsuit and denies that it engaged in
any wrongdoing or violation of law and denies any and all liability. Defendant further denies that
Plaintiff and the Settlement Class are employees or joint employees of Pioneer, and asserts that

                                                        McAfee/Pioneer Settlement Agreement - Page 1
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 3 of 20




Plaintiff and the Settlement Class are independent contractors. Defendant is entering into this
Agreement because it will eliminate the burden, risk and expense of further litigation. Except for
purposes of this Settlement, neither this Agreement nor any document referred to herein, nor any
action taken to carry out this Agreement, may be used in any way as an admission, concession or
indication by or against Defendant of any fault, wrongdoing or liability whatsoever, including any
concession that certification of a class other than for purposes of this Settlement would be
appropriate in this Action or any other case.

        6.     The Parties recognize that notice to the Settlement Class of the Settlement of this
Action, as well as Court approval of this Settlement, are required to effectuate the Settlement, and
that the Settlement will not become operative until the Court approves the Settlement and the
Settlement becomes effective.

        7.      The Parties stipulate and agree that, for settlement purposes only, the requisites for
establishing collective action certification under the FLSA pursuant to 29 U.S.C. § 216(b) are met.
The Parties further stipulate that, for settlement purposes, the Court order the following class be
certified for the three-year period prior to the Court’s approval of this Confidential Settlement
Agreement:

       “All well site consultants, including drilling, completion, production and
       construction consultants, supervisors, superintendents and foreman providing
       services to Pioneer, as independent contractors or consultants, including but not
       limited to well site consultants assigned to Pioneer by staffing agencies or other
       entities, who did not receive overtime for weekly hours over 40.”

Should this Settlement not become final, such stipulation to collective action certification shall
become null and void and shall have no bearing on, and shall not be admissible in connection with,
the issue of whether or not certification would be appropriate in a non-settlement context.

        8.      Upon their approval and execution of this Agreement, the Parties will file a Joint
Motion for Approval of Confidential Settlement Agreement and Stipulation of Dismissal with
Prejudice, which is intended to have full res judicata effect as to any and all Released Claims. As
confidentiality of this Agreement is a material inducement to the Parties’ agreement to settle, and
a material term of this Agreement, the Parties agree that the Confidential Settlement Agreement
will be provided to the Court for in camera review as an exhibit to the Parties’ contemporaneously
filed Joint Motion to File Settlement Agreement Under Seal. The Parties will also file the
Confidential Settlement Agreement with the financial terms redacted.

        9.     As bona fide disputes and controversies exist among the Parties, both as to liability
and the amount thereof, if any, including disputes concerning employee and employer status, joint
employment status, exempt status, the amount of overtime pay due, if any, the availability of
liquidated damages, pre-judgment interest and whether any alleged violations constitute willful
violations of the FLSA, the Parties desire to compromise and settle fully and finally, by the
execution of this Agreement, all claims and causes of action asserted or that could have been
asserted by the Settlement Class in the Action.




                                                       McAfee/Pioneer Settlement Agreement - Page 2
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 4 of 20




        10.    In consideration of the foregoing and other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged by each party to the other, IT IS
HEREBY AGREED, by and between the undersigned, subject to the approval of the Court and
the other conditions set forth herein, that the claims of Plaintiff and the Eligible Settlement Class
Members (as defined below) against Defendant shall be settled, compromised and dismissed, on
the merits and with prejudice, and that the Released Claims (as defined below) shall be finally and
fully compromised, settled and dismissed as to the Defendant and the Released Parties (as defined
below), in the manner and upon the terms and conditions set forth below.

                                         DEFINITIONS

       11.     The following terms used in this Settlement Agreement shall have the meanings
ascribed to them below:

             a.        “Action” means the lawsuit filed by Plaintiff against Defendant on
November 8, 2016.

               b.      “Class Counsel” means Josephson Dunlap Law firm, and Bruckner Burch
PLLC.

               c.      “Class Period” means the period three years prior to the date of the Court’s
approval.

             d.      “Court” means the United States District Court for the Southern District of
Texas, Houston Division.

               e.      “Pioneer’s Counsel” means Bracewell LLP.

             f.     “Defendant” as used in this Agreement means Pioneer Natural Resources
Company or Pioneer Natural Resources USA, Inc.

                g.      “Pioneer” or “Company” as used in this Agreement means Pioneer Natural
Resources Company, Pioneer Natural Resources USA, Inc., Pioneer Natural Resources Pumping
Services LLC, Pioneer Natural Resources Well Services LLP, Pioneer Sands LLC, and any and
all of their past and present affiliates, successors, assigns, businesses, parent companies,
subsidiaries, divisions, partnerships, limited partnerships, partners, joint ventures, predecessors,
officers, directors, trustees, conservators, employees, agents, insurance carriers, contractors,
representatives, shareholders, and external and in-house attorneys, and all persons or entities
claiming through such parties.

                h.     “Released Parties” or “Releasees” as used in this Agreement means Pioneer
Natural Resources Company, Pioneer Natural Resources USA, Inc., Pioneer Natural Resources
Pumping Services LLC, Pioneer Natural Resources Well Services LLP and Pioneer Sands LLC,
and any and all of their past and present affiliates, successors, assigns, businesses, parent
companies, subsidiaries, divisions, partnerships, limited partnerships, partners, joint ventures,
predecessors, officers, directors, trustees, conservators, employees, agents, insurance carriers,
contractors, representatives, shareholders, and external and in-house attorneys, and all persons or
entities claiming through such parties.

                                                       McAfee/Pioneer Settlement Agreement - Page 3
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 5 of 20




                i.      “Eligible Class Member” or “Eligible Settlement Class Member” means
any Settlement Class Member who timely signs and returns the Individual Consent Form Release
and the IRS Form W-9 (“W-9”) to Plaintiff’s Counsel within 60 calendar days from the date
Plaintiff’s counsel or any Settlement Administrator mails or emails these forms to the Settlement
Class Members.

               j.     “Effective Date” means the first business day following the Court’s
approval of the Parties’ Motion for Approval of Confidential Settlement Agreement and
Stipulation of Dismissal with Prejudice.

                k.      “Fee Award” means the award of attorneys’ fees that the Court authorizes
to be paid to Class Counsel for the services they provided to Plaintiff and the Settlement Class in
the Action. The Fee Award shall not to exceed the sum of
                       ($              ), which is approximately thirty-seven and one-half percent
(37.5%) of the Gross Settlement Amount. In addition to the Fee Award, Class Counsel shall be
entitled to recover their costs up to $          . The Fee Award will compensate Class Counsel
for all work performed in the Action as of the date of this Settlement Agreement as well as all of
the work remaining to be performed, including but not limited to documenting the Settlement,
securing Court approval of the Settlement, making sure that the Settlement is fairly administered
and implemented, and obtaining final dismissal of the Action.

               l.     “Gross Settlement Amount” means the maximum amount that Defendant
would pay in the event that Plaintiff and all Settlement Class Members timely complete the
requirements to be classified as an “Eligible Class Member.” The Gross Settlement Amount is the
potential sum of                       ($            ). This Gross Settlement Amount equals the
Net Settlement Amount, as defined below, plus the Settlement Payments to Eligible Class
Members. In no event shall the Gross Settlement Amount exceed this sum. The Gross Settlement
Amount that Defendant shall pay shall be reduced by the amount of Retention due Defendant (as
defined below.)

                m.     “Net Settlement Amount” means the Gross Settlement Amount less: (i) the
Fee Award and costs; (ii) the costs related to administering this Settlement charged by a Settlement
Administrator, if used, which will not to exceed $            ; and (iii) a Service Award to Plaintiff
in an amount not to exceed $              . The Parties acknowledge that all of these amounts are
subject to the Court’s approval.

               n.      “Retention” means that amount of the Net Settlement Amount that is
unclaimed or forfeited by Settlement Class Members who do not timely return their completed and
executed Claim Form and Release and W-9 Form to Class Counsel or any Settlement
Administrator within sixty (60) calendar days of the date the Claim and Release Forms were
distributed or otherwise timely negotiate any settlement payments as described below. This
amount reduces the amount of the Net Settlement Amount, and thereby the Maximum Gross
Settlement, by the amount unclaimed. Defendant is responsible for the payment of only that
portion of the Net Settlement Amount which is distributed to Eligible Settlement Class Members,
as defined above, who have timely returned properly executed and completed Claim and Release
Forms and W-9. Amounts retained by Defendant shall not be part of the consideration for the
settlement of this Action. Defendant shall pay the amount due to Eligible Class Settlement

                                                       McAfee/Pioneer Settlement Agreement - Page 4
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 6 of 20




Members to Class Counsel or Settlement Administrator if used for distribution to the Eligible
Settlement Class Members within twenty (20) business days from the receipt and approval by the
Parties of an accounting from Class Counsel or any Settlement Administrator to include at a
minimum a listing of the names, social security numbers and amounts payable to each opt-in, as
well as the signed and dated Claim and Release Form and Form W-9. Class Counsel or any
Settlement Administrator agrees to provide the receipt of accounting within fifteen (15) business
days from the close of the opt-in deadline.

              o.     “Notice Deadline” means the date sixty (60) calendar days after the Notice
of Settlement and the Claim and Release Form are initially mailed by Class Counsel or any
Settlement Administrator to the Settlement Class Members.

                p.      “Notice of Settlement” means the notice to the Settlement Class Members
substantially in the form as Exhibit A attached hereto or as approved by the Court.

               q.      “Parties” means Plaintiff and Pioneer.

               r.      “Plaintiff” means Darvin McAfee.

                s.       “Released Claims” of Settlement Class Members means any and all state,
local or federal claims, obligations, demands, actions, rights, causes of action and liabilities,
whether known or unknown, against Releasees for alleged unpaid overtime wages, liquidated or
other damages, unpaid costs, penalties (including late payment penalties), premium pay, interest,
attorneys’ fees, litigation costs, restitution or other compensation and relief arising under the FLSA
or any other state or local wage-related law and including any other claims or causes of action
related to alleged unpaid compensation for the services provided by Plaintiff and Settlement Class
Members to Defendant during the Class Period. The Parties acknowledge that only Settlement
Class Members who timely return a Settlement Consent Form and Form W-9 shall release their
claims against Releasees. Released Claims of the Named Plaintiff is defined in paragraph 12(a)
below.

              t.       “Settlement Administrator” if used is a third party claims administrator
mutually agreed to by the Parties.

                u.    “Settlement Award” or “Settlement Payment” means the total payment that
each Eligible Class Member shall be entitled to receive pursuant to the terms of this Agreement.
The total Settlement Award is damages and is classified for tax purposes as 1099 Income.

               v.      “Settlement Class” or “Settlement Class Member” means all individuals
who are covered by this Confidential Settlement Agreement and potentially eligible to receive a
Settlement Award, under the terms described in this Agreement, and is intended to cover the
current and former well site consultants, including drilling, completion, production and
construction consultants, supervisors, superintendents and foreman providing services to Pioneer,
as independent contractors or consultants, including but not limited to well site consultants
assigned to Pioneer by staffing agencies or other entities, who did not receive overtime for weekly
hours over 40 (collectively the “Settlement Class Members”) during the Class Period.



                                                       McAfee/Pioneer Settlement Agreement - Page 5
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 7 of 20




               w.     “Claim Form and Release” or “Settlement Consent Form” means the form
attached hereto as Exhibit A, subject to the approval of the Court.

                                      CONFIDENTIALITY

The Parties agree that the terms of this Agreement are strictly confidential and will not be disclosed
to others by the Parties, Settlement Class Members or Parties’ counsel. The Parties also believe
that the publication of the Agreement and attachments thereto may have adverse consequences,
including but not limited to Pioneer’s operations and its competitiveness in the marketplace. As
this is a settlement of bona fide factual and legal disputes, and confidentiality is of upmost
importance, a material inducement to the Parties agreement to settle, and a material term of this
Agreement, the Parties agree that the Confidential Settlement Agreement will be provided to the
Court for in camera review as an exhibit to the Parties’ contemporaneously filed Joint Motion to
File Settlement Agreement Under Seal. The Parties will also file the Agreement with the financial
terms redacted.

                                            RELEASES

       12.   Release. In consideration of the benefits to be received by Plaintiff and the Eligible
Class Members under this Settlement, upon the Effective Date:

                 a.    Plaintiff Darvin McAfee shall be deemed to have released and forever
discharged Releasees, as defined above, from any and all Released Claims, and, in addition, shall
be deemed to have released Releasees from any and all claims, demands, rules or regulations, or
any other causes of action of whatever nature, whether known or unknown, including but not
limited to the Fair Labor Standards Act, any state wage and pay laws; any claims alleging joint or
single employer or claims asserting employee status; Title VII of the Civil Rights Act of 1964, as
amended; Sections 1981 through 1988 of Title 42 of the United States Code, as amended; The
Genetic Information Nondiscrimination Act of 2008 (GINA); The Employee Retirement Income
Security Act of 1974 (“ERISA”); The Civil Rights Act of 1991; The Immigration Reform and
Control Act; The Americans with Disabilities Act of 1990; The Family and Medical Leave Act;
The Equal Pay Act; or any claims or allegation for costs, fees, interest, or other expenses including
attorneys’ fees incurred in any matter; or any and all claims for wages, overtime, bonuses, or other
compensation of any type, whether under common law or policy or contract, and any other federal,
state or local human rights, civil rights, wage-hour, whistleblower, pension or labor laws, rules
and/or regulations, public policy; any and all claims that were asserted or that could have been
asserted in the Action, any claim for breach of contract, contract or tort laws, or any claim arising
under common law, such as claims for malicious prosecution, misrepresentation, defamation, false
imprisonment, libel, slander, invasion of privacy, negligence, claims based on theories of strict
liability or respondeat superior, infliction of emotional distress, or otherwise, or any other action
or grievance against the Company and Released Parties, based upon any conduct occurring up to
and including the date of the Court’s Approval Order; and

              b.     Eligible Class Members (as defined above) shall be deemed to have released
and discharged the Company and Released Parties from the Released Claims (as defined above).




                                                       McAfee/Pioneer Settlement Agreement - Page 6
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 8 of 20




        CERTIFICATION, NOTICE AND SETTLEMENT IMPLEMENTATION

       13.     The Parties agree to the following procedures for obtaining approval of the
Settlement, certifying the Settlement Class for the purpose of settlement only, and notifying the
Settlement Class of this Settlement:

               a.       Request for Class Certification and Approval Order. Following the
execution of this Settlement Agreement by all parties, Plaintiff shall file a Motion for Approval of
Confidential Settlement Agreement and Stipulation of Dismissal with Prejudice, requesting that
the Court approve the Settlement, certify the Settlement Class, as defined herein, pursuant to 29
U.S.C. § 216(b) for settlement purposes only and approve the Notice of Settlement and Claim
Form and Release attached hereto as Exhibit A.

                b.     Notice. Class Counsel or a Settlement Administrator if used shall be
responsible for preparing, printing and mailing the Notice of Settlement and Consent Form and
Release to all Settlement Class Members.

                c.       The Parties have agreed upon mutually acceptable notice and settlement
procedures to timely effectuate the implementation of this Settlement. Within 30 calendar days of
the Court’s Order approving the Confidential Settlement Agreement, Defendant shall provide to
Plaintiff’s counsel a list of the names of the Settlement Class Members, and their mailing address,
telephone numbers and email if available, and the number of workweeks each Class Member
provided services to Pioneer during the Class Period.

                d.    Within fourteen (14) calendar days after receiving the Class List, the
Settlement Administrator or Class Counsel shall provide the preliminary individual settlement
calculations to Defendant and Class Counsel as applicable. The Parties shall have fourteen (14)
calendar days to review the calculations and to propose any corrections or revisions.

               e.      No later than thirty (30) calendar days after receiving the Class List, the
Class Counsel or the Settlement Administrator, if used, shall send copies of the Court-approved
Notice of Settlement, Consent Form and Release and W-9 to all Settlement Class Members via
U.S. first class mail, with an enclosed self-addressed postage prepaid return envelope.
Furthermore, on the 30th day following the mailing of the Court-approved Notice of Settlement,
Class Counsel or a Settlement Administrator if used shall send a reminder postcard to all
Settlement Class Members via U.S. first class mail that have not already submitted a Settlement
Consent Form. The reminder postcard will state only, “On ________________, a Notice of
Proposed Settlement and Claim Form for an overtime lawsuit settlement was mailed to you. To
date, we have not received your completed Claim Form. If you wish to participate, you must
complete, sign and return the Claim Form and W-9 Form to the Claims Administrator on or before
____________________. If you have any questions or need to obtain a copy of the Notice and/or
Claim Form, please contact the Claims Administrator by telephone at _______________.”
Defendant’s name will not be mentioned or visible on the outer envelope on the initial mailing
envelope or the reminder postcard.

              f.     Any Notice of Settlement and Consent Form and Release returned with a
forwarding address shall be re-mailed by Class Counsel or the Settlement Administrator if used

                                                      McAfee/Pioneer Settlement Agreement - Page 7
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 9 of 20




within five (5) business days following receipt of the returned mail. If any Notice of Settlement
and Consent Form and Release is returned without a forwarding address, Class Counsel or the
Settlement Administrator if used shall undertake reasonable efforts such as skip traces to search
for the correct address within five (5) business days, and shall re-mail the Notice of Settlement and
Settlement Consent Form to any newly found addresses within five (5) business days of finding
the new address(es). Nothing in this Agreement shall limit Defendant’s right and ability to
communicate with consultants currently assigned to Pioneer, including those who are Settlement
Class Members.

              g.     Within seven (7) calendar days after the Notice Deadline, Class Counsel or
any Settlement Administrator shall confirm (a) the total number of Settlement Class Members who
were sent the Notice of Settlement and Settlement Consent Form; and (b) the total number of
Settlement Class Members who timely returned the Consent Form and Release.

               h.      The Settlement Administrator, if used, shall provide counsel for the Parties
with a final report of all proposed Settlement Awards, no more than fifteen (15) calendar days
following the close of the opt-in period.

       14.     Court Filings Shall be Under Seal. The Parties agree that this Agreement shall
be confidential, subject to approval of the Court. This Agreement shall be under seal, subject to
approval of the Court.

                    SETTLEMENT FUNDS AND AWARD CALCULATION

       15.     Gross Settlement Amount.

               a.      Funding.

                               (1)     Within thirty (30) calendar days from the close of the opt-in
period and confirmation of receipt of valid documentation from the Eligible Class Members,
Defendant shall wire the settlement awards due the Eligible Class Members, approved attorneys’
fees award, costs, service awards and settlement administration costs to Class Counsel or the
Qualified Settlement Fund (“QSF”) set up by the Settlement Administrator if applicable. Prior to
the conclusion of the thirty (30) day period, Class Counsel or the Settlement Administrator if used
shall provide Defendant’s counsel with copies of the Eligible Class Members’ Claim Form and
Release and Form W-9.

               b.     Disbursements. All disbursements made by a Settlement Administrator, if
used, shall be made from the Qualified Settlement Fund. In that event, the Settlement
Administrator shall be the only entity authorized to make withdrawals or payments from the
Qualified Settlement Fund.

       16.     Payments. Subject to the Court’s Approval Order, the following amounts shall be
paid by the Settlement Administrator from the Gross Settlement Amount:

              a.     Service Award to Plaintiff. Subject to the Court’s approval, Plaintiff shall
receive up to                      (          ) for his efforts in bringing and prosecuting the
Action, and in consideration of this general release set forth above in Paragraph 12(a). This

                                                       McAfee/Pioneer Settlement Agreement - Page 8
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 10 of 20




payment shall be made forty-five (45) calendar days after the close of the Notice Period. Plaintiff
shall receive an IRS Form 1099 and shall be solely and legally responsible for all taxes on the
Service Award and any other settlement payment received from Defendant.

               b.      Attorneys’ Fees and Costs.

                      (i)   Subject to the Court’s approval, Class Counsel shall receive the Fee
Award in the applicable amount described herein.

                        (ii)    The Fee Award paid by Defendant pursuant to this Agreement shall
constitute full satisfaction of Defendant’s obligations to pay amounts to any person, attorney or
law firm for attorneys’ fees or costs in the Action on behalf of Plaintiff and/or any Settlement Class
Member, and shall relieve Defendant from any other claims or liability to any other attorney or
law firm for any attorneys’ fees or costs to which any of them may claim to be entitled on behalf
of Plaintiff or any Settlement Class Member.

                      (iii) An IRS Form 1099 shall be provided to Class Counsel for the
payments made to Class Counsel. Each firm constituting Class Counsel shall be solely and legally
responsible to pay any and all applicable taxes on the payment made to that firm.

                       (iv)    The Fee Award shall be paid to Class Counsel forty-five (45)
calendar days after the close of the Notice period.

               c.      Payments to the Eligible Class Members. The individual settlement
awards shall be mailed to the Eligible Class Members no later than sixty (60) calendar days
following the close of the opt-in deadline.

                d.      Other Costs. Any Settlement Administration costs shall not exceed
$            and shall be paid from the Gross Settlement Amount. The Parties agree to cooperate
in the settlement administration process and to make all reasonable efforts to control and minimize
the costs incurred in the administration of the Settlement.

          CALCULATION AND DISTRIBUTION OF SETTLEMENT AWARDS

       17.     Settlement Awards to Eligible Class Members.

               a.     All Eligible Class Members shall be paid a Settlement Award from the Net
Settlement Amount, based upon the total number of weeks that the respective Eligible Class
Member provided services to Pioneer during the Class Period. Defendant shall provide the total
number weeks that the Class Member provided services during the Class Period to Plaintiff’s
counsel. Individuals who opted in to this case before a settlement was reached will be credited for
all weeks worked during the time period three years prior to the date the consent was filed through
the date of Court approval.

              b.      In order to be eligible for the Individual Settlement Amount, in addition to
a signed Release, each Settlement Class Member shall provide Plaintiffs’ Counsel with a signed
Form W-9 prior to the issuance of any settlement payment.


                                                       McAfee/Pioneer Settlement Agreement - Page 9
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 11 of 20




               c.     All Settlement Award checks shall remain valid and negotiable for ninety
(90) calendar days from the date of their issuance and will thereafter automatically be canceled if
not cashed within that time, at which time the right to recover any Settlement Award will be
deemed void and of no further force and effect. The Class Members will be notified in writing
that the check must be cashed or deposited within ninety (90) calendar days or it will be cancelled
and deemed void and of no further effect. In the event a Settlement Class Member fails to timely
negotiate his check, Defendant will have no further obligations to such Class Member.

       18.     Taxes & Reporting

               a.     The Settlement Awards to Eligible Class Members shall be treated as
liquidated damages, to be reported on an IRS Form 1099, and shall not be subject to FICA and
FUTA withholding taxes. The Eligible Class Members shall provide identification information
necessary on the Claim Form and a Form W-9 to enable the Settlement Administrator to issue the
IRS Form 1099 for each Eligible Class Member based upon the amount of the Settlement Award.

              b.      Any Settlement Administrator agrees to indemnify and hold harmless
Defendant and the Released Parties for any taxes, penalties and interest assessed to Defendant and
the Released Parties under this Agreement.

               c.     The Eligible Class Members agree to indemnify and hold harmless Pioneer
and the Released Parties for any taxes, penalties and interest due by the Eligible Class Member or
assessed to Pioneer and Released Parties on the Settlement Payment.

               d.      Pioneer and Released Parties make no representation as to the taxability of
any portion of the Individual Settlement Payment or any other payment in this Agreement.

       19.    Total Liability of Defendant. Defendant’s total liability under this Confidential
Settlement Agreement under any circumstances is the payment of the Court-approved attorneys’
Fee Award, costs, named Plaintiff’s service award, Settlement Administrator costs, and the
settlement awards due Eligible Class Members, all as previously defined and identified in this
Settlement Agreement.

        20.      No Claim Based Upon Distributions or Payments in Accordance with this
Settlement Agreement. No person shall have any claim against Defendant or the Releasees,
Plaintiffs, the Settlement Class Members, Class Counsel, Defendant’s Counsel or any Settlement
Administrator based on distributions or payments made in accordance with this Settlement
Agreement, except as provided in paragraph 18(b).

                                      MISCELLANEOUS

       21.    Defendant’s Legal Fees. Defendant’s legal fees and expenses in the Action shall
be borne by Defendant.

        22.    No Effect on Benefit Plans. The Settlement Payment to any Plaintiff or Eligible
Class Member as provided for in this Agreement is not and shall not be deemed by Defendant to
constitute credited hours of service, compensation and/or wages under any (i) employee benefit
plan or employment policy; or (ii) stock option plan of or sponsored by Pioneer or the Released

                                                    McAfee/Pioneer Settlement Agreement - Page 10
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 12 of 20




Parties or jointly trusteed benefit plans. Any such payment to any Plaintiff or Eligible Class
Member shall not be considered by Pioneer to form the basis for contributions to, benefits under,
or any other entitlements under any employee benefit plan, employment policy, or stock option
plan of or sponsored by Pioneer or the Released Parties or any jointly trusteed benefit plans.
Pioneer and each of its present and former parent corporations and affiliates retain the right to
modify and/or amend the language of their employee benefit plans, employment policies, and stock
option plans, and to seek to have modified and/or amended the language of any jointly
administered benefit plans, to make clear that any amounts paid as a result of this Agreement are
not considered by Pioneer as compensation or wages, or payments for “hours worked,” as defined
by the applicable plans and policies and that no contributions or benefits will be provided by
Pioneer by reason of the settlement, as Plaintiff and the Settlement Class are independent
contractors, and not employees or joint employees of Pioneer.

        23.     Inadmissibility of Settlement Agreement. Except for purposes of settling this
Action, neither this Agreement, nor its terms, nor any document, statement, proceeding or conduct
related to this Agreement, nor any reports or accounts thereof, shall be construed as, offered or
admitted in evidence as, received as, or deemed to be evidence for any purpose adverse to the
Parties, including, without limitation, evidence of a presumption, concession, indication or
admission by any of the Parties of any liability, fault, wrongdoing, omission, concession or
damage.

        24.    Computation of Time. For purposes of this Agreement, if the prescribed time
period in which to complete any required or permitted action expires on a Saturday, Sunday, or
legal holiday (as defined by FED. R. CIV. P. 6(a)(6)), such time period shall be continued to the
following business day.

       25.      Amendment or Modification. This Agreement may be amended or modified only
by a written instrument signed by counsel for all Parties or their successors in interest.

        26.    Entire Settlement Agreement. This Agreement constitutes the entire agreement
among the Parties, and no oral or written representations, warranties or inducements have been
made to any Party concerning this Agreement other than the representations, warranties, and
covenants contained and memorialized in such documents. All prior or contemporaneous
negotiations, memoranda, agreements (including without limitation any and all Settlement Term
Sheets), understandings, and representations, whether written or oral, are expressly superseded
hereby and are of no further force and effect. Each of the Parties acknowledges that it has not
relied on any promise, representation or warranty, express or implied, not contained in this
Agreement.

        27.      Authorization to Enter Into Settlement Agreement. Counsel for all Parties are
expressly authorized by the Parties whom they represent to enter into this Agreement and to take
all appropriate action required or permitted to be taken by such Parties pursuant to this Agreement
to effectuate its terms, and to execute any other documents required to effectuate the terms of this
Agreement. The Parties and their counsel shall cooperate with each other and use their best efforts
to effect the implementation of the Agreement.



                                                     McAfee/Pioneer Settlement Agreement - Page 11
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 13 of 20




       28.     Binding on Successors and Assigns. This Agreement shall be binding upon, and
inure to the benefit of Plaintiff, Defendant, and the Eligible Class Members and their heirs,
beneficiaries, executors, administrators, successors, transferees, successors, assigns, or any
corporation or any entity with which any party may merge, consolidate or reorganize.

       29.     Counterparts. This Agreement may be executed in one or more counterparts,
including by facsimile or email. All executed counterparts and each of them shall be deemed to
be one and the same instrument.

       30.      Cooperation and Drafting. The Parties have cooperated in the drafting and
preparation of this Agreement; hence the drafting of this Agreement shall not be construed against
any of the Parties. The Parties agree that the terms and conditions of this Agreement were
negotiated at arms’ length and in good faith by the Parties, and reflect a settlement that was reached
voluntarily based upon adequate information and sufficient discovery and after consultation with
experienced legal counsel.

        31.     Jurisdiction of the Court. The Court shall retain jurisdiction with respect to the
interpretation, implementation, and enforcement of the terms of this Settlement and all orders and
judgments entered in connection therewith, and the Parties and their Counsel submit to the
jurisdiction of the Court for this purpose.

       32.     Confidentiality of Material Provided to Class Counsel. All materials provided
by Defendant to Class Counsel or the Settlement Administrator shall be kept confidential and used
only for purposes of administering the Settlement. No later than thirty (30) days after the time
period for cashing checks constituting Settlement Awards, Class Counsel shall either destroy or
return to Defendant’s counsel the original and all copies of any documents designated as
“confidential” that Defendant produced or provided to Class Counsel during the Action.




                                                      McAfee/Pioneer Settlement Agreement - Page 12
Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 14 of 20
Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 15 of 20
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 16 of 20




                                           EXHIBIT A

                                        CONFIDENTIAL

   NOTICE OF CONFIDENTIAL SETTLEMENT & CLAIM FORM AND RELEASE



To:    «First_Name» «Last_Name»

Re:    Your Eligibility to Recover Monetary Compensation from a Settlement with Pioneer
       Natural Resources Company

Date: _______________

                           WHY AM I GETTING THIS NOTICE?

        You are getting this Notice because a lawsuit against Pioneer Natural Resources Company
(“Pioneer”) has settled. The lawsuit claimed that well site consultants, including drilling,
completion, production and construction consultants and supervisors, foremen and superintendents
(collectively, “Consultants”) providing services to Pioneer, were employees of Pioneer and not
independent contractors or consultants, and that as employees, Pioneer was required to pay you
and other Consultants overtime under federal law. The lawsuit made these claims for all current
and former Consultants providing services to Pioneer as independent contractors or consultants,
including those assigned to Pioneer by staffing agencies or other entities during the past three
years. Pioneer denies these allegations and contends that you are an independent contractor and
that Pioneer is not your employer and that you are not an employee of Pioneer. Pioneer contends
that you were paid lawfully and properly for services provided to Pioneer through a staffing agency
or otherwise. The Court has not ruled on the merits of the Plaintiff’s claims or Pioneer’s defenses.

       Because you worked as a Consultant during the relevant time period, you are eligible to
receive money under the settlement if you fill out the attached Claim Form and Release and Form
W-9 and follow the instructions and return it to the Settlement Administrator by
«Claim_Filing_Date».

         HOW DO I PARTICIPATE IN THIS CONFIDENTIAL SETTLEMENT?

       You must fill out the attached Claim Form and Release and Form W-9 to receive money
under the settlement. The Claim Form and enclosed W-9 must be returned to the Settlement
Administrator ______________ by U.S. Mail (postmark date), fax or E-Mail by
«Claim_Filing_Date», if you want to receive money from the settlement.

       If you do not want to accept the settlement, simply do nothing.

                                  SETTLEMENT PAYMENT.

       By timely submitting and signing the attached Claim Form and Release, and enclosed W-
9, you will be entitled to a payment from the settlement. Your settlement payment was based on
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 17 of 20




the number of weeks you were assigned to Pioneer and provided services to Pioneer during the
relevant period, and the compensation you received from the staffing agency or others for those
services to Pioneer. Your settlement payment is estimated to be: $«AMOUNT».

                   WHAT HAPPENS IF I SUBMIT MY CLAIM FORM?

       If you return the Claim Form by «Claim_Filing_Date»:

       A.      You will be acknowledging that you are represented by Josephson Dunlap Law
               Firm and Bruckner Burch PLLC (“Class Counsel”) and that you will be bound by
               the terms of the Professional Services Agreement signed by the Named Plaintiff in
               this case. You will not have to pay Class Counsel any money directly.

       B.      You will be waiving and releasing any and all claims for alleged unpaid wages or
               overtime and any other claims for alleged unpaid compensation against Pioneer
               during the period beginning three years back from the date you sign the enclosed
               Claim Form and Release.

       C.      You will receive your settlement payment.

       D.      If you do not submit a claim form and W-9 Form, you will not receive any money
               from this Settlement.

       E.      You will be responsible for notifying the Settlement Administrator or Class
               Counsel if your contact information changes following your submission of the
               Claim Form and Release.

                          WHEN WILL I RECEIVE MY MONEY?

        Individual shares of the Settlement will be mailed approximately sixty (60) days following
the close of the opt-in period. This is only an estimate.

                              WHAT DOES CONFIDENTIAL MEAN?

         You may not disclose the fact or details of the settlement. If you choose to participte in
this settlement, you may not tell anyone the amount of money you received from Pioneer, or
even that you you participated in a settlement involving Pioneer or that you received any money
from Pioneer. You may only tell your spouse, legal counsel and tax advisors.

                             WHAT DOES THE COURT THINK?

        While the Court approved this settlement, the Court did not determine Pioneer (or anyone
else) did anything wrong. The Court did not determine you are owed any money. Instead, this is
a settlement payment.
   Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 18 of 20




                             WHAT DOES PIONEER THINK?

       Pioneer believes the lawsuit is without merit and that you were an independent contractor
and not Pioneer’s employee and that you were paid correctly and fairly for the services you
provided to Pioneer. Pioneer nonetheless believes this settlement is a business solution to this
dispute.

                         WHAT IF I HAVE OTHER QUESTIONS?

        This Notice is only a summary. If you have additional questions, please call Josephson
Dunlap at 713-352-1100 or the Settlement Administrator at ___________. You may also
email Josephson Dunlap at info@mybackwages.com with your questions or to schedule a phone
call or meeting with Class Counsel. The deadline for receiving your completed Claim Form and
Release will not be extended under any circumstances.

       If your signed and completed Claim Form and Release is not postmarked, faxed
and/or emailed by «Claim_Filing_Date», you will not receive money from the settlement.

       Please do not contact the Court regarding this settlement. The Court must remain
neutral in this matter and cannot offer you advice.

       Where do I Send My Claim Form and Release?

                         Please return the Claim Form and Release to:
                                 Pioneer Overtime Settlement
                                    c/o ________________
                                            ******
                             Or by E-Mail: [INSERT ADDRESS]
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 19 of 20




                                        CONFIDENTIAL

                                CLAIM FORM AND RELEASE

       I read the Notice regarding the overtime settlement with Pioneer Natural Resources
Company (“Pioneer”). I had the opportunity to talk to Class Counsel, attorneys for Plaintiff in the
Lawsuit, about my rights and obligations under the settlement. I am making an informed,
knowledgeable, and voluntary decision to sign this Claim Form and Release so I can obtain my
settlement payment.

       I understand that if I want to participate in this settlement that my signed Claim Form
and Release and W-9 must be postmarked, faxed, or emailed by «Claim_Filing_Date» or I
will not receive any money under the settlement.

        Release of Claims. In consideration for the payment of my settlement share, I am giving
up potential or actual claims against various persons and entities. I am also giving up the right to
sue for potential or actual claims against various persons and entities. In particular, I waive and
release Pioneer Natural Resources Company, Pioneer Natural Resources USA, Inc., Pioneer
Natural Resources Pumping Services LLC, Pioneer Natural Resources Well Services LLP and
Pioneer Sands LLC and any and all of their past and present affiliates, successors, assigns,
businesses, parent companies, subsidiaries, divisions, partnerships, limited partnerships, partners,
joint ventures, predecessors, officers, directors, trustees, conservators, employees, agents,
insurance carriers, contractors, representatives, shareholders, and external and in-house attorneys,
and all persons or entities claiming through such parties (collectively referred to as “Pioneer”)
during the time period beginning three (3) years back from the date I sign this Claim Form and
Release from any and all claims relating to compensation, wages, overtime, benefits under the Fair
Labor Standards Act or any other federal, state or local wage and hour law and any other claims
related to my providing services to Pioneer.

        THIS IS A CONFIDENTIAL SETTLEMENT. I understand that I am specifically
prohibited from talking about, disclosing, or otherwise disseminating the amount I am receiving
by virtue of this settlement, as well as any of the terms of this Agreement, the negotiations among
the Parties concerning the terms or any proposed terms of the Agreement, and the existence of this
Agreement, to any person other than my spouse, legal counsel, and tax advisors. If you violate
this confidentiality agreement, and are sued, you may be responsible to return all or part of the
settlement monies that are being paid to you, as well as damages resulting from your violation of
this provision and costs associated with such a lawsuit, including attorneys’ fees and case
expenses. I AGREE I WILL NOT DISCLOSE THIS SETTLEMENT.

       For tax reporting purposes, the settlement payment will be considered liquidated damages
reported as non-wage income on a Form 1099. You must timely sign and return your completed
W-9 with this Claim Form and Release to participate in this settlement.

        You agree to assume full responsibility to any federal, state or local taxing authorities for
any tax consequences, including interest and penalties, regarding income and other taxes arising out
of the payment to me as described above. You agree that Pioneer has made no representations
regarding the proper tax treatment of such payments. You agree to indemnify and hold harmless
    Case 4:16-cv-03298 Document 24-2 Filed on 09/18/17 in TXSD Page 20 of 20




Pioneer for any tax liability assessed Pioneer as a result of this payment.

        I declare the foregoing representations and information are true and correct. By submitting
the Claim Form and Release, I am consenting to join this Lawsuit.

_________________________________              ________________________________
(Sign Your Name Here)                          (Date)

_________________________________
Printed Name

_________________________________              _________________________________
Cell Phone                                     Email Address

_________________________________              _________________________________
Address                                        City, State, ZIP

Last 4 Digits of Social Security Number: _______________________

Taxpayer ID Number: _________________________
